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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
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 Counsel to the Plan Administrator

 In re:                                                                Chapter 11

 BED BATH & BEYOND INC., et al.,1                                      Case No. 23-13359 (VFP)

                                   Debtors.                            (Jointly Administered)

                                                                       Hearing Date: May 7, 2024
                                                                                     at 10:00 a.m.


        OPPOSITION OF THE PLAN ADMINISTRATOR TO MOTION FOR ORDER
       MODIFYING THE AUTOMATIC STAY AND PLAN INJUNCTION TO ALLOW
      MOVANT TO CONTINUE PENDING LITIGATION AGAINST THE DEBTOR, TO
     RECOVER SOLELY AGAINST DEBTOR’S INSURER, WAIVING THE PROVISIONS
            OF FED. R. BANKR. P. 4001 (A) (3) AND FOR RELATED RELIEF




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in thesechapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtor’s claims and noticing agent at https://restructuring.ra.kroll.com/bbby.


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           Michael Goldberg, in his capacity as the Plan Administrator (the “Plan Administrator”) to

 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond Inc.)1 and 73 affiliated debtors (the

 “Debtors”), files this opposition (the “Opposition”) to the Motion for Order Modifying The

 Automatic Stay And Plan Injunction To Allow Movant To Continue Pending Litigation Against

 The Debtor, To Recover Solely Against Debtor’s Insurer, Waiving The Provisions Of Fed. R.

 Bankr. P. 4001 (A) (3) And For Related Relief [Docket No. 2936] (the “Motion”) filed on behalf

 of Alfred Zeve (“Movant”).            In support of the Opposition, the Plan Administrator states

 as follows:2




 1 Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which
 was filed with the State of New York Department of State on September 21, 2023, the name of the entity formerly
 known as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No. 230921001833
 DOS ID 315602].
 2 The facts in this Opposition are supported by the Declaration of Michael Goldberg, which is attached hereto as
 Exhibit A (the “Goldberg Dec.”).

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                                            I.        INTRODUCTION1

            1.       Alfred Zeve (“Movant”) is personal injury claimant who alleges he was injured

 when he slipped and fell in a Bed Bath & Beyond store in Dallas, Texas in February of 2021.2 In

 the lawsuit that Movant filed against debtor Bed Bath & Beyond, Inc. (“BBB”) in February of

 2023 in the District Court of Dallas County, Texas (Case No. DC-23-01958) (the “State Court

 Action”), Movant alleged actual damages of “$250,000.00 or less. . . .” 3 The State Court Action

 was stayed by the Debtors’ chapter 11 filings on April 23, 2023 (the “Petition Date”). On April

 25, 2023, counsel to the Debtors filed a Notice of Suggestion in Bankruptcy in the State Court

 Action.4 On July 21, 2023 (two weeks after the General Bar Date),5 Movant filed a proof of

 claim (docketed as Claim No. 14513) against BBB as a general unsecured claim related to his

 alleged personal injuries for $245,000.00 (the “Proof of Claim”).6

            2.       Movant asks the Court to, “modify the Automatic Stay [and the Plan Injunction]

 to permit him to continue to judgment and to enforce any judgment he receives, by execution,

 levy or otherwise, against the Debtor’s insurer and the Policy.” See Memorandum of Law

 [Docket 2936-2], at 3. He states that he “will not seek enforcement of any judgement against the

 Debtor or its assets other than the Policy.” Id.




 1
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Plan.
 2 See Plaintiff’s Original Petition, (Exhibit A) to Certification of Michael Zimmerman [Docket No. 2936-1], ¶ 11.
 3 See Plaintiff’s Original Petition, (Exhibit A) to Certification of Michael Zimmerman [Docket No. 2936-1], ¶ 4
 (“Plaintiff seeks only monetary relief of $250,000 or less, excluding interest, statutory or punitive damages and
 penalties and attorneys’ fees and costs.”).
 4 See Notice of Suggestion in Bankruptcy, (Exhibit B) to Certification of Michael Zimmerman [Docket No. 2936-1].
 5 Pursuant to the Order (I) Setting Bar Dates for Submitting Proofs of Claim, Including Requests for Payment under
 Section 503(b)(9), (II) Establishing Amended Schedules Bar Date, Rejection Damages Bar Date, and Administrative
 Claims Bar Date, (III) Approving the Form, Manner, and Procedures for Filing Proofs of Claim, (IV) Approving
 Notice Thereof, and (V) Granting Related Relief [Docket No. 584], July 7, 2023 as the date by which most Claims
 against the Debtors had to be filed (the “General Bar Date”).
 6 A true and correct copy of the Zeve Claim is attached as Exhibit 1 to the Goldberg Declaration.

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           3.        Pursuant to the Debtors’ Second Amended Joint Chapter 11 Plan (the “Plan”),

 which went effective on September 29, 2023, Movant holds a Class 6 General Unsecured Claim,

 that has not yet been Allowed.7 If Movant’s Claim is Allowed,8 he will be entitled to his pro

 rata share of the consideration that the Plan provides for Class 6 “in full and final satisfaction,

 compromise, settlement, release, and discharge of [his] Claim” (the “Class 6 Plan Treatment”).9

 Pursuant to Article X.F of the Plan, like all other Creditors, Movant is:

                     enjoined and precluded, from and after the Effective Date through
                     and until the date upon which all remaining property of the
                     Debtors’ Estates vested in the Wind-Down Debtors has been
                     liquidated and distributed in accordance with the terms of the Plan
                     from taking any of the following actions against, as applicable, the
                     Debtors, Wind-Down Debtors . . . : (1) commencing or continuing in
                     any manner any action or other proceeding of any kind on account
                     of or in connection with or with respect to any such Claims,
                     Interests, Causes of Action or liabilities; (2) enforcing, attaching,
                     collecting, or recovering by any manner or means any judgment,
                     award, decree, or order against such Entities on account of or in
                     connection with or with respect to any such Claims, Interests,
                     Causes of Action or liabilities . . . ; and (5) commencing or
                     continuing in any manner any action or other proceeding of any kind
                     on account of or in connection with or with respect to any such
                     Claims, Interests, Causes of Action or liabilities discharged,
                     released, exculpated, or settled pursuant to the Plan.

 Plan, Article X.F (the “Plan Injunction”) (emphasis added). The Plan provides for a “complete

 settlement, compromise, and release, effective as of the Effective Date, of Claims, Interests, and


 7 On September 14, 2023, the Court entered the Findings of Fact, Conclusions of Law, and Order (I) Approving the
 Disclosure Statement on a Final Basis and (II) Confirming the Second Amended Joint Chapter 11 Plan of Bed Bath
 & Beyond Inc. and its Debtor Affiliates [Docket No. 2172] (the “Confirmation Order”), confirming the Second
 Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates [Docket No. 2160] (as
 amended, the “Plan”). On the Effective Date, the Plan Administrator became the sole representative of the Wind-
 Down Debtors. Plan, Article IV, at § B.
 8 Pursuant to the Plan, the Plan Administrator currently has until September 30, 2024 to object to Claims, which date
 may be extended by the Court upon the request of the Plan Administrator. Plan, Article I.A, at § 28.
 9 Pursuant to the Plan, Class 6 includes all General Unsecured Claims, which are treated as follows, “In full and
 final satisfaction, compromise, settlement, release, and discharge of its Claim (unless the applicable Holder agrees to
 a less favorable treatment), each Holder of an Allowed General Unsecured Claim shall receive its Pro Rata share of
 (i) the Shared Proceeds Pool, only if such proceeds are available after all senior Claims (other than the DIP Claims
 and FILO Claims) are paid in full and (ii) any remaining Distributable Proceeds available after payment in full of all
 senior Claims.” Plan, Article III.B (6).

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 Causes of Action of any nature whatsoever . . . .” Plan, Article X.A (the “Plan Settlement”).10 It

 also provides for a “release and discharge” of Claims and Causes of Action against the Debtors

 as of the Effective Date. Plan, Article X.D (the “Plan Release”).11


           4.        Movant argues that the Court has discretion to modify the Plan Injunction on the

 grounds that:

                     The Plan Injunction constitutes an extreme and unnecessary
                     hardship upon [Movant] because it prohibits [Movant] from
                     continuing the State Court Action in order to recover from the
                     Debtor’s insurers. Conversely, the only hardship to the Debtor in
                     modifying the Plan Injunction would be that the Debtor would need
                     to devote time cooperating with its insurer(s) to defend the State
                     Court Action, a harm which is dwarfed by the harm which will be
                     suffered by [Movant] if he cannot recover from the Debtor’s
                     insurers.

 Id. at 7-8.As is set forth below, Movant has failed to establish “cause” for relief from the Plan

 Injunction. Debtors have no insurance for any personal injury claim that is liquidated for under

 $1 million, and the cost to defend this suit and others like it (should the Court grant relief) will

 drain these administratively precarious estates in hundred cent dollars to the detriment of the

 estates’ other creditors and in violation of the expectations and priorities established pursuant to

 the Plan. Furthermore, Movant has not produced any evidence of the likelihood that he will


 10Plan, Article X.A (“Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other benefits
 provided pursuant to the Plan . . . the distributions, rights, and treatment that are provided in the Plan shall be in
 complete settlement, compromise, and release, effective as of the Effective Date, of Claims, Interests, and Causes of
 Action of any nature whatsoever . . . whether known or unknown, against, liabilities of, Liens on, obligations of,
 rights against, and Interests in, the Debtors or any of their assets or properties, regardless of whether any property
 shall have been distributed or retained pursuant to the Plan on account of such Claims and Interests, including
 demands, liabilities, and Causes of Action that arose before the Effective Date . . . “).
 11 Plan, Article X.D. (“As of the Effective Date, and to the fullest extent allowed by applicable law, each Releasing
 Party is deemed to have released and discharged each of the Debtors and Released Parties from any and all Claims
 and Causes of Action, whether known or unknown, including waiving any and all rights any of the foregoing parties
 may have under any applicable statute, including but not limited to . . . or any doctrine or principle of law restricting
 the release of claims that a releasor does not know or suspect to exist at the time of executing a release, which
 claims, if known, may have materially affected the releasor’s decision to give the release, that such Entity would
 have been legally entitled to assert (whether individually or collectively), based on or relating to, or in any manner
 arising from, in whole or in part, the Debtors . . . .”).

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 succeed in establishing a claim above the $1 million self-insured retention. On the contrary, in

 complaint filed in the State Court Action and in the Zeve Claim filed in the bankruptcy cases,

 Movant clearly states that his claim is $250,000 or below. Accordingly, the Court should deny

 the Motion.

                                          II.      ARGUMENT

 A.        Movant has not established “cause” to modify the Plan Injunction.

           5.        As a preliminary matter, on the Effective Date, the automatic stay of section 362

 was replaced by the Plan Injunction and is no longer in effect. See Moreno-Cuevas v. Town

 Sports Int'l, LLC (In re Town Sports Int'l), 2023 U.S. Dist. LEXIS 227402, *12 (D. Del. Dec. 21,

 2023). Accordingly, the Plan Administrator will treat the Motion as requesting relief from the

 Plan Injunction. Id. (treating a request for relief from the automatic stay as a request for relief

 from a plan injunction); In re SquareTwo Fin. Servs. Corp., 2017 Bankr. LEXIS 2570, at *10

 (Bankr. S.D.N.Y. Sept. 11, 2017) (same); Grayson v. WorldCom, Inc. (In re WorldCom, Inc.),

 2006 U.S. Dist. LEXIS 55284, at *24 (S.D.N.Y. Aug. 4, 2006) (same).

           6.        Courts considering whether to grant relief from a plan injunction apply a “cause”

 standard, incorporating the same “cause” analysis as they apply for section 362. In re Town

 Sports Int'l, 2023 U.S. Dist. LEXIS 227402, at *12; Grayson v. WorldCom, Inc. (In re

 WorldCom, Inc.), 2006 U.S. Dist. LEXIS 55284, at *245. Courts in the Third Circuit consider

 three factors when balancing competing interests of debtors and movants in connection with stay

 relief: (1) whether any great prejudice to either the bankruptcy estate or the debtor will result

 from continuation of the civil suit; (2) whether the hardship to the nonbankruptcy party by

 maintenance of the stay considerably outweighs the hardship to the debtor; and (3) the

 probability of the creditor prevailing on the merits. In re Town Sports Int'l, 2023 U.S. Dist.

 LEXIS 227402, at *13; In re Trump Ent. Resorts, Inc., 526 B.R. 116, 120 (Bankr. D. Del. 2015);
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 In re W.R. Grace & Co., 2007 Bankr. LEXIS 1214, *8 (Bankr. D. Del. Apr. 13, 2007); Izzarelli

 v. Rexene Prods. Co. (In re Rexene Prods. Co.), 141 B.R. 574, 576 (Bankr. D. Del 1992).

                     (i) Continuing the State Court Action will greatly prejudice the estates
                         because the Debtors are self-insured for any claim under $1 million and
                         granting relief will result in the estates being drained by prohibitive
                         Defense Costs.

           7.        The first and most important factor considered by courts is prejudice to the

 bankruptcy estate. In re Town Sports Int'l, 2023 U.S. Dist. LEXIS 227402, at *13. Cause exists

 only if harm to Movant by maintenance of the Plan Injunction “considerably outweighs” the

 harm to the Debtors from the lifting of the Plan Injunction. Id. It does here.

           8.        The Debtors are their own insurer for all personal injury claims under $1 million.

 The general liability policy that is applicable to the Zeve Claim is GL 4062767 (the “Policy”)

 with Safety National Casualty Corporation (“Safety National”). The Policy was assumed by the

 Debtors pursuant to the Plan, and the Confirmation Order imposes upon the Plan Administrator

 duties of cooperation with Safety National.12




 12 Plan, Article V.D. The Confirmation Order provides: As proscribed under the Safety National Insurance Policies,
 after the Effective Date, the Debtors and/or Wind-Down Debtors, through the Plan Administrator, shall maintain a
 duty to cooperate and assist in the defense of any claim, proceeding, or suit against the Debtors for damages payable
 by the Safety National Insurance Policies. Pursuant to Bankruptcy Rule 9001(5), the Plan Administrator shall be
 designated as the person authorized to act on behalf of the Debtors (or, after the Effective Date, the Wind-Down
 Debtors) in defense of any claim, proceeding, or suit against the Debtors for the purpose of liquidating the claim to
 seek to collect against the Safety National Insurance Policies. The Plan Administrator shall be further authorized to
 assist in the defense of such claims including by, though not limited to, providing documents and information
 required in the defense of any claims, proceeding, or suit, and signing interrogatory answers and other discovery
 responses. The Plan Administrator shall be authorized to execute such discovery materials based upon knowledge
 and information gained from the review of documents or other information in the Plan Administrator’s possession in
 the Plan Administrator’s actual knowledge and not based on personal knowledge of the Plan Administrator. The
 intent of this paragraph is to provide adequate provisions of the Debtors’ defense obligations under the Safety
 National Insurance Policies, and nothing in this paragraph shall alter, modify, amend, impair or prejudice the legal,
 equitable or contractual rights, obligations, and defenses of the Debtors (or, after the Effective Date, the Wind-Down
 Debtors) or the Safety National Parties under the Safety National Insurance Policies.” Confirmation Order at ¶ 145.

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           9.        Pursuant to a Self-Insured Retention Endorsement (the “SIR Endorsement”), the

 Policy has a $1 million per occurrence self-insured retention (the “SIR”). See SIR Endorsement

 at 1.13 The SIR Endorsement provides:

                     SELF-INSURED RETENTION. Our obligation to pay damages,
                     medical expenses and “defense costs” to, or on behalf of, the
                     “insured” applies only to that portion of the “Ultimate Net Loss” in
                     excess of the applicable Self-Insured Retention shown in the above
                     Schedule, subject to any below described Aggregate Self-Insured
                     Retention Amount. After you have paid the amount of the
                     applicable Self-Insured Retention, we will pay on your behalf, or
                     reimburse you for paying such damages, medical expenses or
                     “defense costs” in excess of the applicable Self-Insured Retention.
                     Our payment of damages and medical expenses shall be subject to
                     the Limits of Insurance shown in the Declarations for the Coverage
                     Form. The amount that would otherwise be payable by us as
                     damages, medical expenses or “defense costs” under the above
                     described LIABILITY COVERAGES, will be reduced by the
                     amount of the Self-Insured Retention.

 SIR Endorsement § I(A), at 1 (emphasis added).14

           10.       The SIR Endorsement continues:

                     SELF-INSURED RETENTION PER OCCURRENCE. If a Per
                     Occurrence Self-Insured Retention amount is shown in the above
                     Schedule, it is a condition precedent to our liability under the
                     Coverage Form that you make actual payment of all damages,
                     medical expenses and “defense costs” for each “occurrence” or
                     offense until you have paid the Self-Insured Retention amount
                     and “defense costs” equal to the applicable Per Occurrence
                     amount shown in the Schedule, subject to the provisions of the
                     “Aggregate Self-Insured Retention Amount” provision noted below,
                     if applicable.




 13 A true and correct copy of the SIR Endorsement is attached as Exhibit 2 to the Goldberg Dec.

 14 “Defense Costs” are “Expenses directly allocable to specific claims and shall include but not be limited to all
 Supplementary Payments as defined under the policy; all court costs, fees and expenses; costs for all attorneys,
 witnesses, experts, depositions, reported or recorded statements, summonses, service of process, legal transcripts or
 testimony, copies of any public records; alternative dispute resolution; interest; investigative services, medical
 examinations, autopsies, medical cost containment; declaratory judgment, subrogation and any other fees, costs or
 expenses reasonably chargeable to the investigation, negotiation, settlement or defense of a claim or a loss under the
 policy. SIR Endorsement § III, at 5.

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 SIR Endorsement § I(A)(1), at 1-2 (emphasis added).

           11.       The SIR Endorsement further provides, “With respect to any claim or “suit” under

 this policy that has been tendered to us and that may exceed the applicable Self-Insured

 Retention amount, we may pay any or all of the Self-Insured Retention amount and “defense

 costs” on your behalf to defend or to effect settlement of such claim or “suit”. If we do so, you

 must promptly reimburse us for our payment.” Id. § I(C), at 2 (emphasis added).15 It continues,

 “You may not settle any claim or “suit” that exceeds [$1 million] without our written permission

 to do so. If you fail to obtain our written permission, we shall have no obligation to provide

 coverage for that claim or “suit” under this policy.” Id. § II(D)(1), at 3.

           12.       Accordingly, Movant is seeking relief from the Plan Injunction to liquidate a

 claim in the State Court Action, the first $1 million of which can only be recovered against the

 Debtors, as their own insurers. Because Defense Costs (including attorney’s fees) are included

 in the $1 million SIR, the Plan Administrator would have to use very limited estate resources to

 defend the State Court Action.

           13.       From 2012-2020 (the years for which the personal injury cases were fairly

 developed and might provide an accurate predictor of costs associated with cases that were

 pending on the Petition Date), the Debtors paid $12.14 million in attorney’s fees related to

 personal injury claims, or an average of $1.52 million per year. During that time, only 3 cases

 exceeded the $1 million SIR (inclusive of Defense Costs and settlement/judgment amounts).




 15 In a seemingly contrary provision, the SIR Endorsement provides, “We shall have the right but not the duty to
 associate ourselves in or assume control of the defense of any claim or “suit” which in our sole judgment is likely to
 exceed [$1 million]. If we do avail ourselves of that right, you must cooperate with us. In the event we incur any
 “defense costs” in the exercise of our right to defend any claim or “suit,” you shall not be liable to reimburse us for
 those “defense costs”. SIR Endorsement § II(D)(2), at 3 (emphasis added).

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           14.       The State Court Action was filed 2 month prior to the Petition Date. If the Court

 grants relief from the Plan Injunction to permit the State Court Action to move forward, the Plan

 Administrator will have choose whether to (a) defend the case (which will, absent settlement,

 involve motion practice, discovery, pretrial proceedings and trial), causing the estates to incur

 tens or even hundreds of thousands of dollars in attorneys’ fees; or (b) not defend the case in

 which case, either (i) Movant will take a default judgement against the Debtors (exposing the

 estates to a claim by Safety National that it has breached the terms of the Policy); or (ii) Safety

 National may step in to defend and it may then assert an administrative claim against the

 Debtors.16 Under any possible scenario, the estates risk being drained for the benefit of an

 individual who holds, at best, a disputed, unliquidated Class 6 General Unsecured Claim that is

 filed in the liquidated amount of $245,000, well under the SIR.17

           15.       Each dollar that the Plan Administrator spends in Defense Costs is a dollar that is

 contractually obligated to senior creditors under the Waterfall Recovery mechanism in confirmed

 Plan. See Plan, Article IV.B. Moreover, should the Plan Administrator be able to collect

 sufficient Assets to make even a de minimis distribution to Holders of Allowed Class 6 General

 Unsecured Creditors, their pro rata recoveries will also be diminished by the money that the

 estates have had to spend in Defense Costs. Why should other creditors pay for Movant’s attempt




 16 In connection with Safety National’s Objection to Alfred Zeve’s Motion For Order Modifying The Automatic Stay
 And Plan Injunction To Allow Movant To Continue Pending Litigation Against The Debtor, To Recover Solely
 Against Debtor’s Insurer, Waiving The Provisions Of Fed. R. Bankr. P. 4001 (A) (3) And For Related Relief
 [Docket No 2977] (the “SN Objection”), Safety National states, “Debtors are obligated under the Safety National
 Insurance Policies to defend or resolve claims below the SIR limit. The Safety National Insurance Policies, among
 other things, also obligate Debtors to indemnify and reimburse Safety National for any defense costs Safety National
 incurs below the SIR limit. To the extent the Plan Injunction is lifted for Zeve to pursue the Zeve Claim, the Estate
 will either (i) be required to defend the Zeve Claim in the State Court Lawsuit, or (ii) if the Estate chooses not to
 defend, will incur administrative claim obligations to Safety National for its defense of the Zeve Claim in the State
 Court Lawsuit.” Zeve Objection at 6-7.
 17 The Plan Administrator does not concede Safety National’s interpretation of the Policy or the SIR Endorsement.
 He reserves all rights, arguments, claims and defenses under the Policy and the SIR Endorsement.

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 to hit-the-jackpot by getting an over-the-SIR judgment, especially where, as here, as the Plan

 Administrator has previously noted the estates may well be administratively insolvent.18

           16.       Furthermore, the Plan Administrator will have to spend time and incur expenses

 to respond to and defend against the State Court Action as he and his small staff are trying to

 wind-down the Debtors and make distributions to creditors. Finally, granting relief from the Plan

 Injunction to Movant will embolden other personal injury claimants to seek relief which will

 expose the estates to tens or hundreds of thousands of dollars in Defense Costs. On the Petition

 Date, approximately 55 personal injury cases were being litigated against the Debtors, 53 of

 which requested damages within the SIR of $1 million and two of which requested damages in

 excess of $1 million.

           17.       Numerous courts have denied relief from stay and/or plan injunctions to plaintiffs

 who wanted to move against the debtor’s insurers because the debtor’s estate would have to

 incur defense costs or where the debtor was otherwise self-insured. In In re iHeartMedia, Inc.,

 2019 Bankr. LEXIS 1617 (Bankr. S.D.Tex. May 28, 2019), a creditor sought relief from the

 automatic stay/plan injunction to “proceed against insurance proceeds" in connection with a pre-

 petition personal injury action. As the court noted, “If that were the actual relief sought,

 [creditor] might prevail.” Id. at *6. However, the debtor’s general liability policy, which it had

 assumed in connection with plan confirmation, had a $3 million deductible. In denying relief

 from the stay/injunction, the court explained:

                     Because [the debtor] is liable for the $3,000,000.00 deductible on
                     any claim paid under its Insurance Policy, [creditor’s] attempt to
                     collect a claim against the Insurance Policy, would necessarily
                     invoke the reimbursement provisions of the contract. The Insurer

 18 See Declaration of Michael Goldberg in Support of Motion for Order Extending Period to Object to Claims
 [Docket No. 2906], 5-6 (“Goldberg Dec. II”) (“Absent a significant reduction in the Asserted Administrative Claims
 and meaningful recoveries added to the Shared Proceeds Pool, under the distribution waterfall set forth in the Plan, it
 is unlikely that Allowed Administrative Claims will be paid in full.”).

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                     will not waive its reimbursement rights. Thus, [creditor’s] attempt
                     to collect against the Insurance Policy directly affects the
                     bankruptcy estate, which is barred under either the automatic stay or
                     the discharge injunction.

 2019 Bankr. LEXIS 1617, *12-13 (citations omitted). The court continued:

                      Although [creditor] characterizes its claim as a claim against the
                     insurance proceeds, that is simply incorrect. Its claim is against [the
                     debtor], the insured. Any claim necessarily invokes the Insurer’s
                     right to reimbursement from [the debtor], whether that payment is
                     required prior to claim payment under an SIR, or as reimbursement
                     under a deductible is irrelevant. . . .[T]he controlling question is
                     whether the litigation would place the financial burden solely on the
                     insurer or implicate the debtor. 993 F.2d at 54. The Insurance Policy
                     in this case, with its $3,000,000.00 reimbursable deductible falls
                     within the latter category, implicating the Debtor’s finances.
                     Accordingly, [creditor] has failed to carry its burden demonstrating
                     cause for relief from the automatic stay.


 2019 Bankr. LEXIS 1617, *15-16. In this case, the litigation puts the burden of up to $1 million

 in Defense Costs on the Debtors. It more than “implicates” the Debtors’ finances, it has the

 possibility of crushing them.

           18.       In re SquareTwo Fin. Servs. Corp., 2017 Bankr. LEXIS 2570 (Bankr. S. D. N. Y.

 Sept 11, 2017), the bankruptcy court denied relief from the plan injunction to class action

 litigation claimants because, in part, the reorganized debtor would have been forced to use its

 own funds to defend. In that case, there were both reorganized debtors and debtors who were

 liquidating, and the court concluded that both would be prejudiced, noting:

                     Since no insurer has assumed responsibility to pay for the costs
                     and/or damages associated with the Counterclaims, if that litigation
                     goes forward, [Reorganized debtor-defendant] will be denied its
                     fresh start because it will be forced to use its own funds to defend
                     against the discharged claims. See In re Chemtura Corp., 09-11233-
                     JLG, 2016 Bankr. LEXIS 4056, at *56 (Bankr. S.D.N.Y. Nov. 23,
                     2016) (granting motion to enforce discharge injunction to bar post-
                     confirmation prosecution of discharged tort claims, even if only to
                     fix insurers liability under the policy, since the debtor "will be
                     denied its 'fresh start' because it will be obligated by [the policies]
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                     to pay defense costs associated with the Benzene Lawsuits, which
                     are personal injury actions on account of discharged debts."). See
                     also In re WorldCom Inc., 2007 WL 841948, at *7 (finding seventh
                     Sonnax Factor weighed against movant because the "increased costs
                     associated with litigation in a separate forum would prejudice the
                     Reorganized Debtors."). [Liquidating debtor defendant] is in a
                     slightly different position since it may have access to Estate funds
                     in the Wind Down Account to underwrite costs associated with the
                     prosecution of the Counterclaims. Nonetheless, it will be no less
                     aggrieved if the Class Claimants get relief from the Plan Injunction.
                     That is because continued prosecution of the Counterclaims will
                     prevent the Dissolving Debtors' personnel from focusing on matters
                     relating to the wind down of the businesses and thereby delay the
                     prompt resolution of these cases. Cf. In re SunEdison, Inc., 557 B.R.
                     303, 307-08 (Bankr. S.D.N.Y. 2016) (denying lift stay motion in
                     part because holding otherwise would "divert the Debtors' resources
                     and personnel at a critical time in the case"). Finally, the holders of
                     the 1.5 Lien Lender Claims will also be prejudiced by the continued
                     prosecution of the Counterclaims and the use of Estate funds in
                     connection with that litigation, since any funds remaining in the
                     Wind Down Account after the Wind Down Costs are paid are
                     earmarked for their benefit. . . . Thus, application of Factor # 7
                     weighs against the Class Claimants.

 Id. at *21 (emphasis added). See also In re Residential Capital, LLC, 2012 Bankr. LEXIS 3624,

 at *16 (Bankr. S.D.N.Y. Aug. 7, 2012) (denying plaintiff's motion to lift automatic stay where no

 insurer had assumed responsibility to pay for damages and allowing action to proceed would

 require debtors to pay damages directly from policy deductible); DePippo v. Kmart Corp., 335

 B.R. 290, 298 (S.D.N.Y. 2005) (denying relief from the plan injunction to personal injury

 claimants where the debtors (Kmart) had a $2 million self-insured retention and would be forced

 to incur the cost of litigation and stating, “Kmart does not maintain primary liability insurance.

 Its only insurance provides coverage above a two-million-dollar self-insured retention.

 (Therefore, because Kmart's debt has been discharged in bankruptcy, there is no money to cover

 plaintiff's claim. Moreover, if the action against Kmart were permitted to proceed, it would have

 to pay litigation costs, which is contrary to the fresh start policy of the Bankruptcy Code.”); In re

 EnCap Golf Holdings, LLC, 2008 Bankr. LEXIS 2146, at *12 (Bankr. D. N.J. Aug. 4, 2008)
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 (“Because the Self-Insured Retention has not been exhausted, [insurance company] has no

 obligation to make payments under the [insurance policy] and [creditor’s] right to commence an

 arbitration against [insurance company] cannot be implemented. Accordingly, there is no cause

 to grant relief from the automatic stay in favor of [creditor].”).

           19.       In Houston v. Edgeworth (In re Edgeworth), 993 F.2d 51 (5th Cir. 1993), the

 court held that Bankruptcy Code section 524(e) does not prohibit a plaintiff from joining a

 discharged chapter 7 debtor in a wrongful death suit to pursue a recovery against the debtor’s

 insurer. In doing so, however, the court explained:

                     [The debtor] has not asserted that he will be required to pay the costs
                     of his defense against appellants' suit or that the insurance company
                     denied coverage or is defending under a reservation of rights. Such
                     threats to [the debtor’s] pocketbook might require a different
                     result under § 524. Thus, as long as the costs of defense are borne
                     by the insurer and there is no execution on judgment against the
                     debtor personally, section 524(a) will not bar a suit against the
                     discharged debtor as the nominal defendant.

 Id. at 54 (emphasis supplied).

           20.       In In re CJ Holding Co., 2018 Bankr. LEXIS 2437 (Bankr. S.D.Tex. Aug. 15,

 2018), the bankruptcy court denied relief from the plan injunction in precisely the type of case

 foreshadowed by the Edgeworth court. In that case, the plaintiffs (who did not file a proof of

 claim against the debtors) sought post-confirmation relief from the plan injunction to pursue their

 pre-petition personal injury claims against the debtors’ insurers. The debtors’ primary general

 liability insurance had $1 million cap and a $1 million deductible. It also had a $5 million self-

 insured retention before the excess layer kicked in. The court explained:

                     The underlying tenet of the Fifth Circuit's holding is a balancing of
                     the financial fresh start policy underlying the bankruptcy process
                     with the limitation set forth in 11 U.S.C. § 524(e). See Greiner v.
                     Columbia Gas Transmission Corp. (In re Columbia Gas
                     Transmission Corp.), 219 B.R. 716, 720 (S.D. West Va. 1998). The
                     Court's analysis in Jones v. Pilgrim's Pride, Inc. is instructive on this
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                     issue. 741 F. Supp. 2d 1272 (N.D. Ala. 2010). In denying the
                     plaintiff's request to pursue litigation claims solely for the purpose
                     of collecting insurance proceeds, the Pilgram's Pride Court noted
                     that there was effectively no primary insurance as the Debtor had a
                     large self-insured retention. Id. at 1277-1278. See also Columbia
                     Gas Transmission Corp., 219 B.R. at 720; DePippo v. Kmart Corp.,
                     335 B.R. 290, 298 (S.D.N.Y. 2005. The relevant facts are largely
                     undisputed. Mr. and Mrs. Nunez admit that they did not file a proof
                     of claim. No assertion is made that they are not bound by the terms
                     of the confirmed plan in this case. Rather, Mr. and Mrs. Nunez argue
                     that although the Liberty Policy has a $1 million deductible and that
                     a $5 million self-insured retention exists before any proceeds of the
                     excess policy are available to satisfy their claims, it is not clear that
                     the Debtors will have to actually pay those amounts. In essence, Mr.
                     and Mrs. Nunez argue that the Edgeworth exception should apply
                     because the Debtors could choose to breach their contractual
                     obligations and refuse to pay the $1 million deductible or the $5
                     million self-insured retention. The argument fails to address the fact
                     that Liberty is holding the Debtor's cash as security for its
                     performance. The Court is convinced that this is the type of situation
                     recognized by the Edgeworth Court. In this case, C&J Well is
                     required to pay the first million, and five of the following six million
                     in related expenses/recoveries. No legitimate argument exists that
                     such circumstances would not frustrate C&J Well's discharge and
                     the fresh start policy engrafted into the Bankruptcy Code. Mr. and
                     Mrs. Nunez also argue that the fact that the Debtors' relevant
                     insurance agreements were assumed under the confirmed plan
                     requires a different analysis. The Court disagrees. The Edgeworth
                     balancing remains unchanged. See In re Chemtura Corp., 2016
                     Bankr. LEXIS 4056, at *61-62 (Bankr. S.D.N.Y. Nov. 23, 2016).

 Id. at *8-10. See also In re Jet Florida Systems, Inc., 883 F.2d 970, 976 (11th Cir. 1989) (holding

 that § 524(a) does not preclude actions against a discharged debtor as a nominal defendant so

 plaintiff can purse an insurer but stating, “We are, however, concerned by the prospect that

 reversing the decision of the bankruptcy court in this case would frustrate the fresh-start policy

 embodied in the Code in one way -- by requiring the bankrupt to spend sums in defending this

 lawsuit. We are cognizant that in actions such as these, the cost of litigation can sometimes

 surpass the actual amount of liability. Therefore, to allow suits of this nature to go forward could

 possibly have the effect of draining funds that would more properly be used in the revitalization

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 of the reorganized corporation.”); Greiner v. Columbia Gas Transmission Corp. (In re Columbia

 Gas Transmission Corp.), 219 B.R. 716, 721 (S.D.W.V. 1998) (holding that permitting plaintiff

 to pursue her negligence suit against discharged debtor would violate the Bankruptcy Code's

 fresh-start policy because “ [the debtor] has provided evidence that it, not [insurer], is

 responsible for costs of defending the lawsuit. Requiring [the debtor] to pay the costs of litigating

 its liability on Greiner's claim, which costs could be quite high, would violate the fresh-start

 policy of the Bankruptcy Code.”); Perez v. Cumberland Farms, Inc., 213 B.R. 622, 624 (D.

 Mass. 1997) ("Any economic loss to the Debtor would . . . result in the violation of the statutory

 injunction of 11 U.S.C. § 524(a)).

           21.       The Bed, Bath & Beyond cases involve a liquidation; therefore, there is no

 reorganized debtor’s “fresh start” to protect. There is, however, the expectation of creditors that

 is represented in the contract called the Plan. To allow these suits to go forward will open the

 floodgates and the Defense Costs will drain the estates resources (coming out of the secured

 creditor’s collateral and if there is anything left over after its Allowed Claims are satisfied, then

 the pockets of other creditors who share under the Waterfall Recovery mechanism), all for the

 benefit of the Holder of (at best) a Class 6 General Unsecured Claim that will, in the end, likely

 fall within the SIR, and therefore, no insurance will be available. How many dollars must the

 estate (aka other creditors) spend to fund this gamble for the Movant? Furthermore, the Plan

 Administrator will have to spend time and incur expenses to respond to and defend against the

 State Court Action as he and his small staff are trying to wind-down the Debtors and make

 distributions to creditors.

                     (ii) The hardship to the Movant by maintenance of the Plan Injunction does
                          not considerably outweigh the hardship to the bankruptcy estates.




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           22.       The harm to Movant from keeping the Plan Injunction in place is that he is

 deprived of the ability to potentially get his claim over $1,000,000, so he can obtain some

 recovery from Safety National. The possibility of Movant’s Claim exceeding $1 million is, as

 noted above, very low. Eight years of loss data show only 3 claimants have pierced the $1

 million settlement mark. And, as noted above, his gamble comes on the backs of other creditors

 who bargained for the Debtors’ assets to be distributed in accordance with the Plan. This factor

 too weighs against modifying the Plan Injunction.

                     (iii) Movant has not established any likelihood of prevailing on the merits.

           23.       This factor weighs against modifying the Plan Injunction as Movant has provided

 no evidence of the probability of his success on the merits of the State Court Action, much less

 any evidence that his Claim will exceed the SIR. On the contrary, both the complaint in the State

 Court Action and his proof of claim manifestly state that his Claim is well under the SIR.

           24.       As the harm to the estates and other Creditors far outweighs the potential and

 speculative prejudice to the Movant, the Court should deny relief from the Plan Injunction.

 B.        The Plan Injunction is enforceable against Movant.

           25.       Movant asserts that the Plan Injunction is a de facto discharge (forbidden to a

 liquidating debtor under 11 U.S.C. § 1141(d)(3)) and is unenforceable against them.

 Memorandum of Law, at 6-7. Not so. A temporary injunction, like the Plan Injunction, which

 lasts only so long as the liquidating debtor has assets does not affect a de facto discharge and is

 within the court’s authority to issue pursuant to Bankruptcy Code section 105(a). As Judge

 Greenblatt explained in In re Kabbage Inc., 2023 Bankr. LEXIS 671 (Bankr. D. De. March 15,

 2023) when approving a similar plan injunction:

                     While the plan provides for the liquidation of the debtors, it does not
                     create a separate post-confirmation liquidating trust that would be
                     eligible to take free and clear title to the debtors' assets under §

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                     1141(c). Instead, those assets remain with the legal entities that
                     consisted of the prepetition debtors, which are referred to after the
                     effective date of the plan as the Wind Down Estates. Those entities
                     are directed by the Wind Down Officer. Because the legal entities
                     that made up the prepetition debtors will not end up as corporate
                     shells upon the effective date but will instead hold assets that are
                     intended to be distributed to creditors under the plan, the parties had
                     good reason to protect the debtors and the Wind Down Estates from
                     the holders of prepetition claims who might seek to defeat the
                     operation of the plan by taking action against the post-bankruptcy
                     entities on account of their prepetition claims.


 Id. at *3. The court continued:

                     The debtors here, of course, do not need injunctive protection once
                     they no longer have any assets. Their only concern was preventing
                     creditors from acting against the post-effective date entities while
                     they do have assets. The debtors have no interest in "trafficking in
                     corporate shells." Once the entities have distributed their assets in
                     accordance with the plan, and are reduced to corporate shells, there
                     is no longer any need to protect them. . . . The readily available
                     solution, therefore, is to afford those entities not permanent
                     injunctive relief, but rather temporary injunctive relief that will
                     remain in effect only as long as those entities hold assets. . . . The
                     plan has thus been revised to so provide that the relief afforded to
                     the debtors and the Wind Down Estates is temporary rather than
                     permanent. The Court is satisfied that this is precisely the type of
                     interstitial, gap-filling authority that § 105(a) was intended to
                     authorize.

 Id. at *6-7.

           26.       The State Court Action is enjoined by the Plan Injunction until such time as the

 Plan Administrator has liquidated all the Debtors’ Assets and distributed them pursuant to the

 Plan. As is set forth in Goldberg Dec. II, while the Plan Administrator has made substantial

 progress, he has not liquidated all of the Debtor’s Assets or distributed them under the Plan.

           27.       Furthermore, this Court already approved the Plan Injunction in connection with

 confirmation, and Movant, who had notice of the bankruptcy proceeding on or about April 25,

 2023, did not object to confirmation of the Plan or appeal the Confirmation Order that approved


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 the Plan Injunction. See In re Town Sports Int', 2023 U.S. Dist. LEXIS 227402 (denying relief

 from the plan injunction to a pre-petition litigation claimant when the claimant did not object to

 confirmation). Movant cannot rely on that argument now to collaterally attack the Confirmation

 Order.

                                        III.      CONCLUSION

           28.       In short, Movant has failed to establish “cause” to modify the Plan Injunction.

 The damage to the estates of having to incur up to a $1 million in Defense Costs far exceeds the

 harm to the Movant who has produced no evidence at all that his Claim will exceed the $1

 million SIR. And even if it did, why should senior creditors, whose recoveries were bargained

 for pursuant to the confirmed Plan have to pay to fund Movant’s gamble? Movant’s longshot

 attempt to “hit the jackpot” with a claim that exceeds $1 million will come out of the pockets of

 other, senior creditors and may even reduce the recovery to Class 6 General Unsecured Creditors

 (if there is one) in violation of the Plan. Accordingly, the Court should deny the Motion.

 Dated: April 26, 2024                           PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ Bradford J. Sandler
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Counsel to the Plan Administrator

 In re:                                                               Chapter 11

 BED BATH & BEYOND INC., et al.,1                                     Case No. 23-13359 (VFP)

                                  Debtors.                            (Jointly Administered)

                                                                      Hearing Date: May 7, 2024
                                                                                  at 10:00 a.m.


  DECLARATION OF PLAN ADMINISTRATOR MICHAEL GOLDBERG IN SUPPORT
    OF MOTION FOR ORDER MODIFYING THE AUTOMATIC STAY AND PLAN
    INJUNCTION TO ALLOW MOVANT TO CONTINUE PENDING LITIGATION
  AGAINST THE DEBTOR, TO RECOVER SOLELY AGAINST DEBTOR’S INSURER,
     WAIVING THE PROVISIONS OF FED. R. BANKR. P. 4001 (A) (3) AND FOR
                          RELATED RELIEF


 Pursuant to 28 U.S.C. § 1746, I, Michael Goldberg, under penalty of perjury, declare as follows:




 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby.
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          1.        I am the Plan Administrator to 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath &

 Beyond Inc.)2 and 73 affiliated debtors (the “Debtors”). I give this declaration in support of my

 Opposition (the “Opposition”) to the Motion for Order Modifying The Automatic Stay And Plan

 Injunction To Allow Movant To Continue Pending Litigation Against The Debtor, To Recover

 Solely Against Debtor’s Insurer, Waiving The Provisions Of Fed. R. Bankr. P. 4001 (A) (3) And

 For Related Relief [Docket No. 2936] (the “Motion”) filed on behalf of Alfred Zeve (“Movant”).3

          2.        Except as otherwise indicated, the statements in this declaration are based on: (a)

 my personal knowledge of the Debtors’ business operations since my appointment as Plan

 Administrator; (b) my review of relevant documents including the Amended Motion; (c)

 information provided to me by, or discussions with, members of my management team, other

 employees, or the Debtors’ other advisors; and/or (d) my general experience and knowledge. I am

 authorized to submit this declaration. If called upon to testify, I can and will testify competently

 as to the facts set forth herein.

          3.        A true and correct copy of the Proof of Claim filed by Movant is attached as Exhibit

 1.

          4.        The Debtors are their own insurer for all personal injury claims under $1 million.

 The general liability policy that is applicable to the Zeve Claim is GL 4062767 (the “Policy”) with

 Safety National Casualty Corporation (“Safety National”). The Policy was assumed by the Debtors

 pursuant to the Plan, and the Confirmation Order imposes upon me, as Plan Administrator, certain

 duties of cooperation with Safety National.



 2    Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which
      was filed with the State of New York Department of State on September 21, 2023, the name of the entity formerly
      known as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No. 230921001833
      DOS ID 315602].
 3 Capitalized terms that are not defined in this Declaration have the meaning given to them in the Opposition.


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          5.        Pursuant to a Self-Insured Retention Endorsement (the “SIR Endorsement”), the

 Policy has a $1 million per occurrence self-insured retention (the “SIR”). The SIR includes

 Defense Costs.

          6.        A true and correct copy of the SIR Endorsement is attached as Exhibit 2.

          7.        Historically, the Debtors were required to pay all legal expenses, other defense

 costs (experts, et cetera) and judgments or settlement amounts up to the $1 million SIR before

 Safety National paid anything under the SIR Policy. Safety National did not “front” Defense Costs

 and then seek reimbursement from the Debtors.

          8.        I am informed and believe that from 2012-2020 (the years for which the personal

 injury cases were fairly developed and might provide an accurate predictor of costs associated with

 cases that were pending on the Petition Date), the Debtors paid $12.14 million in attorney’s fees

 related to personal injury claims, or an average of $1.52 million per year. During that time, only 3

 cases exceeded the $1 million SIR (inclusive of Defense Costs and settlement/judgment amounts).

          9.        If the Court grants relief from the Plan Injunction to permit the State Court Action

 to move forward, I will have choose whether to (a) defend the case (which will, absent settlement,

 involve motion practice, discovery, pretrial proceedings and trial), causing the estates to incur tens

 or even hundreds of thousands of dollars in attorneys’ fees; or (b) not defend the case in which

 case, either (i) Movant will take a default judgement against the Debtors (exposing the estates to a

 claim by Safety National that it has breached the terms of the Policy); or (ii) Safety National may

 step in to defend and it may then assert an administrative claim against the Debtors. 4 Under any




 4 I do not concede Safety National’s interpretation of the Policy or the SIR Endorsement and I reserve all rights,
     arguments, claims and defenses under the Policy and the SIR Endorsement.

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 possible scenario, the estates risk being drained for the benefit of an individual who holds, at best,

 a disputed, unliquidated Class 6 General Unsecured Claim.

          10.       Each dollar that I spend in Defense Costs is a dollar that is contractually obligated

 to senior creditors under the Waterfall Recovery mechanism in confirmed Plan. Moreover, should

 the I be able to collect sufficient Assets to make even a de minimis distribution to Holders of

 Allowed Class 6 General Unsecured Creditors, their pro rata recoveries will also be diminished

 by the money that the estates have had to spend in Defense Costs. Why should other creditors pay

 for Movant’s attempt to hit-the-jackpot by getting an over-the-SIR judgment, especially where, as

 here, as I previously noted, the estates may well be administratively insolvent. See Declaration of

 Michael Goldberg in Support of Motion for Order Extending Period to Object to Claims [Docket

 No. 2906], 5-6 (“Goldberg Dec. II”) (“Absent a significant reduction in the Asserted

 Administrative Claims and meaningful recoveries added to the Shared Proceeds Pool, under the

 distribution waterfall set forth in the Plan, it is unlikely that Allowed Administrative Claims will

 be paid in full.”).

          11.       If the Court grants the requested relief, my staff and I will have to spend time and

 incur expenses to respond to and defend against the State Court Action as we are trying to wind-

 down the Debtors and make distributions to creditors.

          12.       Finally, granting relief from the Plan Injunction to Movant will embolden other

 personal injury claimants to seek relief which will expose the estates to tens or hundreds of

 thousands of dollars in Defense Costs. I am informed and believe that on the Petition Date,

 approximately 55 personal injury cases were being litigated against the Debtors, 53 of which

 requested damages within the SIR of $1 million and two of which requested damages in excess of

 $1 million.


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          13.       For these reasons and for the arguments set forth in the Supplemental Opposition,

 I ask the Court to deny the Amended Motion.



 I declare under penalty of perjury that the foregoing statements are true and correct to the best of

 my knowledge, information and belief.


 Dated: April 26, 2024                             /s/ Michael Goldberg
                                                  By: Michael Goldberg
                                                  In His Capacity as Plan Administrator to 20230930-
                                                  DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond
                                                  Inc.) and 73 affiliated debtors




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                         EXHIBIT 1
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 United States Bankruptcy Court, District of New Jersey (Newark)

   Bed Bath & Beyond Inc.                   Alamo Bed Bath & Beyond Inc.                BBB Canada LP Inc.                        BBB Value Services Inc.
 (Case No. 23‐13359)                      (Case No. 23‐13360)                         (Case No. 23‐13361)                       (Case No. 23‐13362)
   BBBY Management Corporation              BBBYCF LLC                                  BBBYTF LLC                                bed ‘n bath Stores Inc.
 (Case No. 23‐13363)                      (Case No. 23‐13364)                         (Case No. 23‐13365)                       (Case No. 23‐13396)
   Bed Bath & Beyond of Annapolis, Inc.     Bed Bath & Beyond of Arundel Inc.           Bed Bath & Beyond of Baton Rouge Inc.     Bed Bath & Beyond of Birmingham
 (Case No. 23‐13366)                      (Case No. 23‐13367)                         (Case No. 23‐13368)                       Inc.
                                                                                                                                (Case No. 23‐13369)
   Bed Bath & Beyond of Bridgewater         Bed Bath & Beyond of California             Bed Bath & Beyond of Davenport Inc.       Bed Bath & Beyond of East Hanover
 Inc.                                     Limited Liability Company                   (Case No. 23‐13372)                       Inc.
 (Case No. 23‐13370)                      (Case No. 23‐13371)                                                                   (Case No. 23‐13373)
   Bed Bath & Beyond of Edgewater Inc.      Bed Bath & Beyond of Falls Church, Inc.     Bed Bath & Beyond of Fashion Center,      Bed Bath & Beyond of Frederick,
 (Case No. 23‐13374)                      (Case No. 23‐13375)                         Inc.                                      Inc.
                                                                                      (Case No. 23‐13376)                       (Case No. 23‐13377)
   Bed Bath & Beyond of Gaithersburg         Bed Bath & Beyond of Gallery Place         Bed Bath & Beyond of Knoxville Inc.       Bed Bath & Beyond of Lexington
 Inc.                                     L.L.C.                                      (Case No. 23‐13380)                       Inc.
 (Case No. 23‐13378)                      (Case No. 23‐13379)                                                                   (Case No. 23‐13381)
   Bed Bath & Beyond of Lincoln Park         Bed Bath & Beyond of Louisville Inc.       Bed Bath & Beyond of Mandeville Inc.      Bed, Bath & Beyond of Manhattan, Inc.
 Inc.                                     (Case No. 23‐13383)                         (Case No. 23‐13384)                       (Case No. 23‐13397)
 (Case No. 23‐13382)
   Bed Bath & Beyond of Opry Inc.           Bed Bath & Beyond of Overland Park          Bed Bath & Beyond of Palm Desert Inc.     Bed Bath & Beyond of Paradise
 (Case No. 23‐13385)                      Inc.                                        (Case No. 23‐13387)                       Valley Inc.
                                          (Case No. 23‐13386)                                                                   (Case No. 23‐13388)
   Bed Bath & Beyond of Pittsford Inc.      Bed Bath & Beyond of Portland Inc.          Bed Bath & Beyond of Rockford Inc.        Bed Bath & Beyond of Towson Inc.
 (Case No. 23‐13389)                      (Case No. 23‐13390)                         (Case No. 23‐13391)                       (Case No. 23‐13392)
   Bed Bath & Beyond of Virginia Beach      Bed Bath & Beyond of Waldorf Inc.           Bed Bath & Beyond of Woodbridge Inc.      Buy Buy Baby of Rockville, Inc.
 Inc.                                     (Case No. 23‐13394)                         (Case No. 23‐13395)                       (Case No. 23‐13398)
 (Case No. 23‐13393)
   Buy Buy Baby of Totowa, Inc.             Buy Buy Baby, Inc.                          BWAO LLC                                  Chef C Holdings LLC
 (Case No. 23‐13399)                      (Case No. 23‐13400)                         (Case No. 23‐13401)                       (Case No. 23‐13402)
   Decorist, LLC                            Deerbrook Bed Bath & Beyond Inc.            Harmon of Brentwood, Inc.                 Harmon of Caldwell, Inc.
 (Case No. 23‐13403)                      (Case No. 23‐13404)                         (Case No. 23‐13405)                       (Case No. 23‐13406)
   Harmon of Carlstadt, Inc.                Harmon of Franklin, Inc.                    Harmon of Greenbrook II, Inc.             Harmon of Hackensack, Inc.
 (Case No. 23‐13407)                      (Case No. 23‐13408)                         (Case No. 23‐13409)                       (Case No. 23‐13410)
   Harmon of Hanover, Inc.                  Harmon of Hartsdale, Inc.                   Harmon of Manalapan, Inc.                 Harmon of Massapequa, Inc.
 (Case No. 23‐13411)                      (Case No. 23‐13412)                         (Case No. 23‐13413)                       (Case No. 23‐13414)
   Harmon of Melville, Inc.                 Harmon of New Rochelle, Inc.                Harmon of Newton, Inc.                    Harmon of Old Bridge, Inc.
 (Case No. 23‐13415)                      (Case No. 23‐13416)                         (Case No. 23‐13417)                       (Case No. 23‐13418)
   Harmon of Plainview, Inc.                Harmon of Raritan, Inc.                     Harmon of Rockaway, Inc.                  Harmon of Shrewsbury, Inc.
 (Case No. 23‐13419)                      (Case No. 23‐13420)                         (Case No. 23‐13421)                       (Case No. 23‐13422)
   Harmon of Totowa, Inc.                   Harmon of Wayne, Inc.                       Harmon of Westfield, Inc.                 Harmon of Yonkers, Inc.
 (Case No. 23‐13423)                      (Case No. 23‐13424)                         (Case No. 23‐13425)                       (Case No. 23‐13426)
   Harmon Stores, Inc.                      Liberty Procurement Co. Inc.                Of a Kind, Inc.                           One Kings Lane LLC
 (Case No. 23‐13427)                      (Case No. 23‐13428)                         (Case No. 23‐13429)                       (Case No. 23‐13430)
    San Antonio Bed Bath & Beyond           Springfield Buy Buy Baby, Inc.
 Inc.(Case No. 23‐13431)                  (Case No. 23‐13432)




Claim Number: 14513
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 Modified Official Form 410                        Document     Page 31 of 47
 Proof of Claim                                                                                                                                            04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

 Part 1:     Identify the Claim

1. Who is the current           Alfred Zeve
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                               
                               ✔ No

   someone else?                Yes. From whom?

3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?            c/o The Zimmerman Law Firm
   Federal Rule of              3501 West Waco Drive
   Bankruptcy Procedure
   (FRBP) 2002(g)


                                Waco
                                TX
                                76710


                               Contact phone    2547529689                                                 Contact phone

                               Contact email    ksmith@zlawhelp.com                                        Contact email


4. Does this claim amend       
                               ✔
                                 No
   one already filed?           Yes. Claim number on court claims registry (if known)                                          Filed on
                                                                                                                                           MM   / DD   / YYYY



5. Do you know if anyone       
                               ✔ No
   else has filed a proof       Yes. Who made the earlier filing?
   of claim for this claim?

   Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
    you use to identify the       Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
    debtor?



7. How much is the claim?          $ $245,000.00                                 . Does this amount include interest or other charges?
                                                                                  
                                                                                  ✔ No

                                                                                   Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                             charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.
                                    Personal injury


                                                                         Proof of Claim                                                           page 1
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9. Is all or part of the claim     No
                                  ✔

     secured?                      Yes. The claim is secured by a lien on property.
                                             Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                                Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:


                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                             been filed or recorded.)

                                             Value of property:                                $


                                             Amount of the claim that is secured:             $


                                             Amount of the claim that is unsecured: $                                     (The sum of the secured and unsecured
                                                                                                                          amounts should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:                    $



                                             Annual Interest Rate (when case was filed)                   %
                                              Fixed
                                              Variable

10. Is this claim based on a       No
                                  ✔
    lease?
                                   Yes. Amount necessary to cure any default as of the date of the petition.                        $


11. Is this claim subject to a    
                                  ✔ No
    right of setoff?
                                   Yes. Identify the property:

12. Is all or part of the claim   
                                  ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?            Yes. Check one:                                                                                              Amount entitled to priority

    A claim may be partly              Domestic support obligations (including alimony and child support) under
    priority and partly                   11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                $
    nonpriority. For example,
    in some categories, the            Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
    law limits the amount                 personal, family, or household use. 11 U.S.C. § 507(a)(7).                                            $
    entitled to priority.
                                       Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                          bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                     $
                                          11 U.S.C. § 507(a)(4).
                                       Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                   $

                                       Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                       $

                                       Other. Specify subsection of 11 U.S.C. § 507(a)(              ) that applies.                           $

                                      * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.




                                                                         Proof of Claim                                                                  page 2
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13. Is all or part of the       
                                ✔ No
    claim entitled to
    administrative priority      Yes. Indicate the amount of your claim arising from the value of any goods received                         $ ____________________
    pursuant to                         by the Debtor within 20 days before the date of commencement of the above case, in
    11 U.S.C. § 503(b)(9)?              which the goods have been sold to the Debtor in the ordinary course of such
                                        Debtor’s business. Attach documentation supporting such claim.


14. Is all or part of the       
                                ✔ No
    claim being asserted
    as an administrative         Yes. Indicate the amount of your claim for costs and expenses of administration of
    expense claim?                      the estates pursuant to 503(b), other than section 503(b)(9), or 507(a)(2). Attach
                                        documentation supporting such claim. If yes, please indicate when this claim was
                                        incurred:

                                                     On or prior to June 27, 2023:                                                           $ ____________________

                                                     After June 27, 2023:                                                                    $ ____________________
                                                        Total Administrative Expense Claim Amount:                                            $ ____________________



 THIS SECTION SHOULD ONLY BE USED BY CLAIMANTS ASSERTING AN ADMINISTRATIVE EXPENSE CLAIM ARISING AGAINST ONE OF THE
 ABOVE DEBTORS FOR POSTPETITION ADMINISTRATIVE CLAIMS. THIS SECTION SHOULD NOT BE USED FOR ANY CLAIMS THAT ARE NOT
 OF A KIND ENTITLED TO PRIORITY IN ACCORDANCE WITH 11 U.S.C. §§ 503(B) AND 507(A)(2); PROVIDED, HOWEVER; THIS SECTION
 SHOULD NOT BE USED FOR CLAIMS PURSUANT TO SECTION 503(B)(9) OF THE BANKRUPTCY CODE.




 Part 3:    Sign Below

 The person completing          Check the appropriate box:
 this proof of claim must
 sign and date it.                     I am the creditor.
 FRBP 9011(b).                  
                                ✔       I am the creditor’s attorney or authorized agent.
 If you file this claim                I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules       I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 specifying what a signature    amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 is.                            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
                                and correct.
 A person who files a
 fraudulent claim could be      I declare under penalty of perjury that the foregoing is true and correct.
 fined up to $500,000,
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3571.
                                                                                            07/21/2023

                                8________________________________________________________________________
                                        Signature

                                Name of the person who is completing and signing this claim:
                                                      Michael A. Zimmerman
                                Name
                                                      First name                           Middle name                            Last name

                                Title
                                                      The Zimmerman Law Firm
                                Company
                                                      Identify the corporate servicer as the company if the authorized agent is a servicer.
                                                      3501 West waco Drive
                                Address
                                                      Number            Street
                                                      Waco                                     Tx                          76710
                                                      City                                                         State          ZIP Code

                                Contact phone         2547529689                                                   Email           ksmith@zlawhelp.com


                                                                         Proof of Claim                                                              page 3
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Additional Noticing Addresses (if provided):

 Additional Address 1
 Name:
 Address1:
 Address2:
 Address3:
 Address4:
 City:
 State:
 Postal Code:
 Country:

 Contact Phone:
 Contact Email:
 ______________________________________________________________________________________

 Additional Address 2
 Name:
 Address1:
 Address2:
 Address3:
 Address4:
 City:
 State:
 Postal Code:
 Country:
 Contact Phone:
 Contact Email:




Additional Supporting Documentation Provided
   o
   ✔    Yes
   o    No
---------------------------------------------------------------------------------------------------------------
Attachment Filename:
1)Original Petition - Premises - Expedited(fmc).pdf
                                                                                                                  FILED
                                                                                                      2/10/2023 4:23 PM
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                                 Document     Page 35 of 47                                           DISTRICT CLERK
                                                                                                   DALLAS CO., TEXAS
                                                                                               Shunta Jackson DEPUTY
                                       DC-23-01958
                                 NO. __________________________

   ALFRED ZEVE,                                       §          IN THE DISTRICT COURT OF
     Plaintiff,                                       §
                                                      §
   V.                                                 §              DALLAS COUNTY, TEXAS
                                                      §
                                                      §
   BED BATH & BEYOND INC d/b/a BED                    §
   BATH & BEYOND,                                     §101st
     Defendant.                                       §                     JUDICIAL DISTRICT


                              PLAINTIFF’S ORIGINAL PETITION


 TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES, ALFRED ZEVE, Plaintiff herein, complaining of and about BED BATH

 & BEYOND INC d/b/a BED BATH & BEYOND, Defendant herein, who were acting in

 conformity with the allegations in this Petition and for cause of action would show unto the Court

 the following:

                                 DISCOVERY CONTROL PLAN LEVEL

        1.        Plaintiff intends that discovery be conducted under Discovery Level 1 of the Texas

 Rules of Civil Procedure.

                                        PARTIES AND SERVICE

        2.        Plaintiff Alfred Zeve is an individual residing in Dallas County, Texas.

        3.        Defendant Bed Bath & Beyond Inc d/b/a Bed Bath & Beyond is a foreign for-profit

 corporation registered to do business in the state of Texas. Defendant may be served pursuant to

 sections 5.201 and 5.255 of the Texas Business Organizations Code by serving its registered agent:

 C T Corporation System, 1999 Bryan Street, Suite 900 Dallas, Texas 75201-3136. Service of said

 Defendant as described above can be effected by personal service.
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                                         JURISDICTION AND VENUE

        4.      Plaintiff seeks only monetary relief of $250,000 or less, excluding interest, statutory

 or punitive damages and penalties, and attorney fees and costs.

        5.      The subject matter in controversy is within the jurisdictional limits of this Court.

        6.      This Court has jurisdiction over Defendant Bed Bath & Beyond Inc d/b/a Bed Bath

 & Beyond because it is a corporation that purposely availed itself of the privilege of conducting

 activities in the State of Texas and establish minimum contacts sufficient to confer jurisdiction

 over said Defendant, and the assumption of jurisdiction over Defendant will not offend traditional

 notions of fair play and substantial justice and is consistent with the constitutional requirements of

 due process.

        7.      In addition, and in the alternative, Plaintiff would show that Defendant Bed Bath &

 Beyond Inc d/b/a Bed Bath & Beyond had continuous and systematic contacts with the State of

 Texas sufficient to establish general jurisdiction over said Defendant.

        8.      In addition, and in the alternative, Plaintiff would also show that the cause of action

 arose from or relates to the contacts of Defendant Bed Bath & Beyond Inc d/b/a Bed Bath &

 Beyond to the State of Texas, conferring specific jurisdiction with respect to said Defendant.

        9.      Venue in Dallas County is proper in this cause under TEX. CIV. PRAC. & REM.

 CODE §15.002(a)(1) because all or a substantial part of the events or omissions giving rise to this

 lawsuit occurred here.

        10.     All conditions precedent have been met or have occurred.

                                                FACTS

        11.     On or about February 27, 2021, Plaintiff entered the Bed Bath & Beyond Inc d/b/a

 Bed Bath & Beyond store located at 13910 Dallas Parkway in Dallas, Texas, 75240 as a business




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 invitee and patron. While in the store, Plaintiff slipped and fell on liquid that was left on the

 entrance floor by Defendant’s employees, causing him to suffer physical injuries as a proximate

 and direct result of that dangerous condition. Upon information and belief, the liquid/water had

 been on the floor for a sufficient length of time that Defendant’s employees knew of or should

 have discovered the condition.

                                      RESPONDEAT SUPERIOR

         12.    Under the doctrine of respondeat superior, Defendant is vicariously liable for the

 actions of their respective employee(s) who were acting within the course and scope of their

 employment with Defendant.

                            PLAINTIFF’S CLAIM AGAINST DEFENDANT

         13.    At all times material hereto, Defendant was the owner and operators of the Bed

 Bath & Beyond Inc d/b/a Bed Bath & Beyond located at 13910 Dallas Parkway in Dallas, Texas,

 75240 and Defendant’s employed the employees working in said restaurant.

         14.    At all times material hereto, Plaintiff was an invitee on the premises.

         15.    Defendant and/or its employees knew or should have known of the dangerous

 condition created by the water on the floor.

         16.    The condition presented an unreasonable risk of harm to store patrons, such as

 Plaintiff.

         17.    Defendant failed to make the condition reasonably safe and failed to provide

 Plaintiff with an adequate warning of the condition.

         18.    Plaintiff fell and was injured as a direct and proximate result of Defendant’s failures

 to make the condition reasonably safe and to warn Plaintiff of the condition.




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                                        DAMAGES FOR PLAINTIFF

         19.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

 and Defendant’s acts as described herein, Plaintiff was caused to suffer injuries to his person and

 to incur the following damages:

                 a. Reasonable medical care and expenses in the past. These expenses were

                     incurred by him for the necessary care and treatment of the injuries resulting

                     from the accident complained of herein and such charges are reasonable and

                     were usual and customary charges for such services in the Texas counties in

                     which they were incurred;

                 b. Physical pain and suffering in the past;

                 c. Physical pain and suffering which will, in all probability, be incurred in the

                     future;

                 d. Physical impairment in the past; and

                 e. Physical impairment which, in all probability, will be suffered in the future.



                                                PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that Defendant

 be cited to appear and answer herein, and that upon a final hearing of the cause, judgment be

 entered for Plaintiff against Defendant for damages in an amount within the jurisdictional limits

 of the Court; together with pre-judgment interest at the maximum rate allowed by law; post-

 judgment interest at the legal rate, costs of court; and such other and further relief to which Plaintiff

 may be entitled at law or in equity.




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                                        Respectfully submitted,

                                        LAW OFFICES OF ZIMMERMAN,
                                        COTNER, RESSETAR, BENNETT & LANE
                                        A Professional Corporation
                                        3501 West Waco Drive
                                        Waco, Texas 76710
                                        (254) 752-9688
                                        (254) 752-9680 (fax)


                                        BY:___________________________
                                            MICHAEL A. ZIMMERMAN
                                            State Bar No. 22271400
                                            mzimmerman@zlawhelp.com

                                            ATTORNEYS FOR PLAINTIFF




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Electronic Proof of Claim Confirmation: 3335-1-DJELU-334756692

Claim Electronically Submitted on (UTC) : 2023-07-21T17:06:25.118Z

Submitted by: Alfred Zeve
             ksmith@zlawhelp.com
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                         EXHIBIT 2
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              SELF-INSURED RETENTION ENDORSEMENT
This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE FORM
         PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE FORM
         LIQUOR LIABILITY COVERAGE FORM
         OWNERS & CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
         RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
         POLLUTION LIABILITY COVERAGE FORM


                                                  SCHEDULE

Self-Insured Retention                 $       1,000,000                                Per “Occurrence”
Self-Insured Retention                 $       N/A                                      Per “Claim”
Aggregate Self-Insured Retention
                                       $       N/A
Amount (if applicable)

                                                     CHANGE
I.    The Coverage sections of the policy pertaining to BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
      PERSONAL AND ADVERTISING INJURY LIABILITY, MEDICAL PAYMENTS, LIQUOR LIABILITY and
      SUPPLEMENTARY PAYMENTS are modified to apply the additional provisions noted below.

      A. SELF-INSURED RETENTION

         Our obligation to pay damages, medical expenses and “defense costs” to, or on behalf of, the “insured”
         applies only to that portion of the “Ultimate Net Loss” in excess of the applicable Self-Insured Retention
         shown in the above Schedule, subject to any below described Aggregate Self-Insured Retention Amount.

         After you have paid the amount of the applicable Self-Insured Retention, we will pay on your behalf, or
         reimburse you for paying such damages, medical expenses or “defense costs” in excess of the
         applicable Self-Insured Retention. Our payment of damages and medical expenses shall be subject to
         the Limits of Insurance shown in the Declarations for the Coverage Form. The amount that would
         otherwise be payable by us as damages, medical expenses or “defense costs” under the above
         described LIABILITY COVERAGES, will be reduced by the amount of the Self-Insured Retention.

         1. SELF-INSURED RETENTION PER OCCURRENCE

             If a Per Occurrence Self-Insured Retention amount is shown in the above Schedule, it is a condition
             precedent to our liability under the Coverage Form that you make actual payment of all damages,
             medical expenses and “defense costs” for each “occurrence” or offense until you have paid the Self-
             Insured Retention amount and “defense costs” equal to the applicable Per Occurrence amount
             shown in the Schedule, subject to the provisions of the “Aggregate Self-Insured Retention Amount”
             provision noted below, if applicable.




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          Payments by others, including but not limited to, additional insureds or insurers, does not serve to
          satisfy the Self-Insured Retention. The Per Occurrence amount is the most you will pay for Self-
          Insured Retention amounts and “defense costs” arising out of any one “occurrence” or offense,
          regardless of the number of persons or organizations making claims or bringing suits because of the
          occurrence or claim.

      2. SELF-INSURED RETENTION PER CLAIM

          If a Per Claim Self-Insured Retention amount is shown in the above Schedule, it is a condition
          precedent to our liability under the Coverage Form that you make actual payment of all damages,
          medical expenses and “defense costs” for each claim until you have paid the Self-Insured Retention
          amount and “defense costs” equal to the Per Claim amount shown in the Schedule, subject to the
          provisions of the “Aggregate Self-Insured Retention Amount” provision noted below, if applicable.

          Payments by others, including but not limited to, additional insureds or insurers, does not serve to
          satisfy the Self-Insured Retention. The Per Claim amount is the most you will pay for Self-Insured
          Retention amounts and “defense costs” sustained by any one person or organization as a result of
          any one “occurrence” or offense.

      3. AGGREGATE SELF-INSURED RETENTION AMOUNT

          The Aggregate Self-Insured Retention Amount only applies if an Aggregate Self-Insured Retention
          Amount is shown in the above Schedule. If an Aggregate Self-Insured Retention Amount is shown in
          the Schedule, that amount is the most you will pay for all Self-Insured Retention amounts and
          “defense costs” incurred under this policy. The Aggregate Self-Insured Retention Amount applies
          separately to each consecutive annual period and to any remaining period of less than 12 months,
          starting with the beginning of the policy period shown in the Declarations of this policy.

   B. LIMIT OF INSURANCE

      The applicable LIMIT OF INSURANCE provisions apply with the following change:

          The Limit of Insurance applies over the Self-Insured Retention shown in the Schedule.

   C. OUR RIGHT TO REIMBURSEMENT

      With respect to any claim or “suit” under this policy that has been tendered to us and that may exceed
      the applicable Self-Insured Retention amount, we may pay any or all of the Self-Insured Retention
      amount and “defense costs” on your behalf to defend or to effect settlement of such claim or “suit”.
      If we do so, you must promptly reimburse us for our payment.

II. CHANGES IN THE CONDITIONS SECTION OF EACH OF THE ABOVE-LISTED COVERAGE FORMS

   A. The following is added to the BANKRUPTCY Condition:

      Satisfaction of the Self-Insured Retention amounts by you is a condition precedent to our liability for
      amounts in excess of the Self-Insured Retention regardless of insolvency or bankruptcy or inability to pay
      by you. Accordingly, bankruptcy, insolvency, receivership, or any refusal or inability to pay by the
      “insured” or the “insured’s” estate will not operate to:

      1. Deplete or reduce the Self-Insured Retention;
      2. Increase our liability under this policy; or
      3. Relieve us of our obligations under this policy.




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        In no event will we assume responsibility or obligations of the “insured”.

   B. The following is added to the DUTIES IN THE EVENT OF AN OCCURRENCE, OFFENSE, INJURY,
      POLLUTION INCIDENT, CLAIM OR SUIT(as applicable to the above-listed Coverage Form) Condition:

        The “insured” must promptly give our authorized representative and our Claims Department a complete
        report of the existence of any claim or “suit” involving the following factors or probabilities:

        1. If the “ultimate net loss” for a claim or “suit” or multiple claims or “suits” arising out of any one
           “occurrence” or offense may, or is likely to, exceed 50% of the Self-Insured Retention; or

        2. If an “occurrence”, offense, claim or “suit” involves:

            a. Death;
            b. Brain or spinal injury;
            c. Amputation;
            d. Loss of use of an arm, eye or leg;
            e. Severe burns involving more than 25% of the body;
            f. Multiple fractures;
            g. Permanent and total disability;
            h. Sexual abuse or molestation;
            i. Significant psychological or neurological involvement;
            j. Severe internal body organ damage or loss;
            k. Severe cosmetic deformity or disfigurement;
            l. A hospital stay of two weeks or longer;
            m. An alleged error or omission of the “insured”, the “insured’s” claims service organization, or us or
               a claim for punitive damages against any of them; or
            n. An actual or potential conflict of interest between the “insured” and us, or between the “insured’s”
               claims service organization and us.

   C.    The following is added to the TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US
         Condition:

         If the “insured” had rights to recover all or part of any payment we have made in excess of the Self-
         Insured Retention, those rights are transferred to us. The “insured” must do nothing after loss to impair
         them. At our request, the “insured” will bring “suit” or transfer those rights to us and help us enforce
         them. Any amounts recovered will first be applied to reimburse us to the extent of our actual payment.

   D. DEFENSE & SETTLEMENT shall be added as follows:

        1. You may not settle any claim or “suit” that exceeds the applicable Self-Insured Retention amount
           without our written permission to do so. If you fail to obtain our written permission, we shall have no
           obligation to provide coverage for that claim or “suit” under this policy.

        2. We will have the right but not the duty to associate ourselves in or assume control of the defense of
           any claim or “suit” which in our sole judgment is likely to exceed the Self-Insured Retention. If we
           avail ourselves of that right, you must cooperate with us. In the event we incur any “defense costs”
           in the exercise of our right to defend any claim or “suit”, you shall not be liable to reimburse us for
           those “defense costs”.




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         3. We may investigate and settle any claim or “suit” as we consider appropriate both within and in
            excess of the applicable Self-Insured Retention but we shall obtain your consent prior to entering into
            any settlement of a claim or “suit” that is equal to or less than the Self-Insured Retention amount. If,
            however, you do not consent to any settlement within the Self-Insured Retention amount that is
            recommended by us and instead elect to contest the claim or continue with any legal proceedings
            involving the claim, our liability for the claim shall not exceed the amount determined by subtracting
            the Self-Insured Retention amount from the amount for which we recommended settlement, including
            “defense costs” incurred with our consent, to the date of such refusal. Further we shall have no
            liability with respect to such claim if the result of the above calculation is zero or negative. We will
            not continue to defend or settle any claim or “suit” after the Limit of Insurance of the applicable
            coverage has been exhausted by payments of judgments or settlements.

   E.     CLAIMS ADMINISTRATION shall be added as follows:

         You agree to maintain a continuous contract, with an independent claims service administrator approved
         for use by us, at your expense without reimbursement from us, and that such claims service
         administrator will report to us on a monthly basis all claims activity, including identity of claimants and the
         date, type, estimated payments, description and disposition of all claims.

   F.     SELF-INSURED RETENTION REPORTING shall be added as follows:

         You or the authorized claim service administrator must monitor the cumulative Self-Insured Retention
         amounts and “defense costs” incurred during the policy period and report those total amounts to us on a
         quarterly basis. However, regardless of the quarterly reporting requirements, if the total of all incurred
         losses and “defense costs” should, at any time during the policy period, attain a total amount equal to
         75% of the Aggregate Retention amount, you are required to make an immediate report to us of the total
         incurred losses and “defense costs” sustained at that time.

         The required quarterly report must be in a format acceptable to us and shall include a listing of all
         individual losses and “defense costs” incurred as of the date of the report.

         Within forty-five (45) days after the end of the policy term, you must give a listing of all existing claims or
         “suits” within the Self-Insured Retention amounts. Such listing shall include a description of each claim,
         “occurrence” or offense; date of the “occurrence” or offense; and the current status of the claim or “suit”.
         Thereafter and on a quarterly basis, you shall provide an updated status of all claims or suits, paid and
         reserved, until all claims or “suits” are closed and settled.

         Compliance with the reporting requirements set forth above, is a condition precedent to coverage. In the
         event of non-compliance, we shall not be required to establish prejudice resulting from reporting
         noncompliance and shall be automatically relieved of liability with respect to the claim.

   G. MIDTERM CANCELLATION shall be added as follows:

         If an Aggregate Self-Insured Retention Amount is shown in the above Schedule, in the event of a
         midterm cancellation, the Aggregate Self-Insured Retention Amount shall not be subject to any pro rata
         reduction. Such Aggregate Self-Insured Retention Amount will apply as if the policy term had not been
         shortened.

   H. GOOD FAITH shall be added as follows:

         You and we agree that both will strictly observe standards of good faith and fair dealing with respect to
         each other, and that neither will engage in any conduct which would take unfair advantage of the other.




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   I.    HOLD HARMLESS AGREEMENT shall be added as follows:

         The “insured” will hold us harmless and indemnify us for any and all damages or attorney fees or other
         costs or expenses which are imposed upon us because of the acts or omissions of the “insured” or of the
         “insured’s” employees, agents or independent contractors in the course of the investigation, settlement or
         defense of any claim or “suit” to which this insurance applies.

   J. REPRESENTATIONS shall be added as follows:

         You agree that the procurement of insurance for all or any part of the Self-Insured Retention amounts
         shown in the above Schedule will cause there to be no coverage under this policy.

   K. DISPUTE RESOLUTION shall be added as follows:

         If we and the “insured” do not agree whether coverage is provided under this policy or this Endorsement,
         or do not agree concerning the timing or amount of settlement of a claim or “suit”, then either party may
         submit the matter to a court of competent jurisdiction or may make a written demand for arbitration.
         Where required by state law, the “insured” shall have the option of instead submitting the matter to a
         court of competent jurisdiction. We have the absolute right to determine when a claim or “suit” should
         be settled and may proceed to settle the claim or “suit” if the “insured” refuses to do so upon our
         demand, or if the “insured” refuses to contribute the amount of the Self-Insured Retention.

         When a matter is submitted for arbitration, we and the “insured” may agree to use one arbitrator. If the
         parties fail to agree on one arbitrator, each party will select an arbitrator. The two arbitrators will select a
         third. If they cannot agree within 30 days, each will name two arbitrators of which the other party will
         decline one, and the final selection will be made by drawing lots. If either party fails to appoint an
         arbitrator within 30 days of receiving written notice, delivered by certified mail, requesting it to do so, the
         requesting party will name both arbitrators. Each party will pay the expenses it incurs and bear the
         expenses of the third arbitrator equally.

         Unless both parties agree otherwise, arbitration will take place in the county in which the address shown
         in the Declarations is located. Local rules of law as to procedure and evidence will apply. A decision
         agreed to by two of the arbitrators will be binding unless state laws do not allow for binding arbitration
         without the consent of the “insured” in which case the decision will be binding unless, upon
         commencement of the arbitration, the “insured” has made written demand for non-binding arbitration. A
         decision rendered in a non-binding arbitration shall not preclude either party from submitting the matter to
         a court of competent jurisdiction following the rendering of such decision. Unless a non-binding decision
         has been elected, upon our request or the request of the “insured”, a judgment based on the majority
         decision of the arbitrators may be entered in any court having jurisdiction.

III. ADDITIONAL DEFINITIONS

   The following are added to the DEFINITIONS Section of each of the above-listed Coverage Forms:

   “Defense Costs” means, with respect to each “occurrence”, offense or claim:

         Expenses directly allocable to specific claims and shall include but not be limited to all Supplementary
         Payments as defined under the policy; all court costs, fees and expenses; costs for all attorneys,
         witnesses, experts, depositions, reported or recorded statements, summonses, service of process, legal
         transcripts or testimony, copies of any public records; alternative dispute resolution; interest; investigative
         services, medical examinations, autopsies, medical cost containment; declaratory judgment, subrogation
         and any other fees, costs or expenses reasonably chargeable to the investigation, negotiation, settlement
         or defense of a claim or a loss under the policy.




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   “Ultimate Net Loss” means, with respect to each “occurrence” or offense, the total of:

       1. All sums that the “insured” is legally liable to pay as damages, because of liability to which this
          insurance applies, determined either through final adjudication or through compromise settlement
          with our consent, after making proper deductions for all recoveries; and
       2. All sums that are covered as damages, medical expenses or “defense costs” under the Coverage
          Form.




    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective 03/01/2020                      Policy No. GL 4062767                     Endorsement No.

Insured BED BATH & BEYOND INC.                                                                  Premium $ Included

Insurance Company Safety National Casualty Corporation

                                                               Countersigned By ________________________________




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